Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 1 of 7 PageID #: 277
Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 2 of 7 PageID #: 278
Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 3 of 7 PageID #: 279
Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 4 of 7 PageID #: 280
Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 5 of 7 PageID #: 281
Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 6 of 7 PageID #: 282
Case 5:21-cr-50062-TLB Document 64   Filed 07/08/22 Page 7 of 7 PageID #: 283
